                                    Case: 19-12312                        Doc: 1        Filed: 06/06/19                Page: 1 of 13


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

      Vt;11\.f,1/District.of   ~                                                                       FILED
  Case number (/f known):   ----------                               Chapter you are filing under:z   19 JUN -b. p I: 35
                                                                     D   Chapter?
                                                                     D   Chapter11

                                                                     ~2
                                                                     Chapter 13                   V'::s,< (. i l) is
                                                                                                                                             0   Check if this is an
                                                                                                                                                 amended filing



Official Farm 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.


■ :r-u;a...-    Identify Yourself

                                        About Debtor 1:                                                         About Debtor 2 (Spouse Only in a Joint Case):
 1.    Your full name

       Write the name that is on your
       government-issued picture
                                                                                                                First name
       identification (for example,
       your driver's license or
       passport).                       Middle nam           y(){VfJ/L.                                         Middle name

       Bring your picture
       identification to your meeting
       with the trustee.
                                        Last name     71                                                        Last name


                                        Suffix (Sr., Jr., II, Ill)                                              Suffix (Sr., Jr., II, Ill)




 2.    All other names you
       have used in the last 8          First name                                                               First name
       years
       Include your married or          Middle name                                                             Middle name
       maiden names.
                                        - - - - - - - - - - - - - - - - - - - - 0--
                                        Last name                                                                Last name



                                        First name                                                               First name


                                        Middle name                                                             Middle name


                                        Last name                                                               Last name




       Only the last 4 digits of
 3.
       your Social Security
                                        XXX      -    xx-~_:LQC/__                                              XXX           xx - - - - - - - - -
       number or federal                OR                                                                      OR
       Individual Taxpayer
       Identification number            9 xx     - xx - - - - - - - - -                                         9 xx - xx - - - - - - - - -
       (ITIN)

 Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
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Debtor 1                                                                                                Case number(ifknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                Flt5tName   Middle Name                Last Name




                                          About Debtor       1:                                             About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                         D I have not used any business names or EINs.                     D    I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in
     the last 8 years
                                                    /tl/3
                                          Business name
                                                                   lw>vlhb Lc,,c.,                          Business name

     lndude trade names and
     doing business as names                         ~tf2(VN!             UJ{),h1.1 t:"rJ~C
                                          Business name                                                     Business name



                                          EIN-
                                                      - -------                                             EIN-
                                                                                                                         - -------

                                          -   - - -------                                                   EIN-
                                                                                                                         - -------
                                          EIN




s.   Where you live                                                                                          If Debtor 2 lives at a different address:



                                          ~ 2~'
                                          Number
                                                               JvJ LqJ-.tn-l TeA-
                                                           Street                                            Number          Street




                                             ¢D}MJttvO
                                          City
                                                                               0k ,State
                                                                                               3o/Z-
                                                                                             ZIP Code        City                                     State     ZIP Code



                                          County
                                                  0      ~~                                                  County


                                          If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                        any notices to this mailing address.


                                           l3JJ_[f~rg Jverr-11t
                                          Number

                                           -:JI_ 'J..!7
                                                           Street
                                                                               ~ /kt!ML                      Number          Street



                                          P.O. Box                                                           P.O. Box


                                             0~
                                          City
                                                                           ~Ou, 73ot}
                                                                           ---State          ZIP Code        City                                     State     ZIP Code




6.    Why you are choosing                Check one:                                                         Check one:
      this district to file for
      bankruptcy
                                           ~ the last 180 days before filing this petition,                  D Over the last 180 days before filing this petition,
                                                 I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                 other district.                                                    other district.

                                           D I have another reason. Explain.                                 D      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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 Debtor 1                                                                                              Case numbeqifknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                    Fin.t:Name   Middle Name            Last.Name




■ :r-   ,.-..i:a   Tell the Court About Your Bankruptcy Case


 7. The chapter of the                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
        Bankruptcy Code you                    for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
        are choosing to file
        under
                                               0   Chapter7

                                               0   Chapter 11

                                               0 Chapter 12
                                               0'Chapter 13


 a. How you will pay the fee                   ~ a y the entire fee when I file my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                               0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                               0   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                                   pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                   Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



 9.      Have you filed for                    □ No
         bankruptcy within the
         last 8 years?                         □ Yes.    District                              When                     Case number
                                                                                                      MM/ DD /YYYY

                                                         District                              When                     Case number
                                                                                                      MM/ DD /YYYY

                                                         District                              When                     Case number
                                                                                                      MM/ DD /YYYY




  10. Are any bankruptcy                       0   No
         cases pending or being
         filed by a spouse who is              □ Yes. Debtor                                                             Relationship to you

         not filing this case with                        Disbict                              When                      Case number, if known
         you, or by a business                                                                         MM/DD /YYYY
         partner, or by an
         affiliate?
                                                          Debtor                                                        .Relationship to you

                                                          Disbict                              When                      Case number, if known
                                                                                                       MM /DD /YYYY



  11. Do you rent your                         □ No. Go to line 12.
         residence?                            tfYes. Has your I pd lord obtained an eviction judgment against you?
                                                                o. Go to line 12.
                                                          0   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                              part of this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1                                                                                                 Case number(ifmown)_ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name        Middle Name             last Name




■=     .-.~     Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  0   No. Go to Part 4.
      of any full- or part-time
      business?                                  0   Yes. Name and location of business
      A sole proprietorship is a
       business you operate as an
                                                          Name of business, if any
       individual, and is not a
       separate legal entity such as
       a corporation, partnership, or
                                                          Number         Street
       LLC.
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach it
       to this petition.
                                                           City                                                                ZIP Code


                                                          Check the appropriate box to describe yo11r business:

                                                          0   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                          0    Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))

                                                          0    Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                          0    Commodity Broker(as defined in 11 U.S.C. § 101(6))

                                                          0    None of the above


13.    Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor sci that it
       Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
       Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
       are you a small business
       debtor?
                                                 0   No. I am not filing under Chapter 11.
       For a definition of small
       business debtor, see                      0   No. I am filing under Chapter 11, but I am NOT a small business debtor a=rding to the definition in
       11 U.S.C. § 101 (510).                            the Bankruptcy Code.

                                                 0   Yes. I am filing under Chapter 11 and I am a small business debtor a=rding to the definition in the
                                                          Bankruptcy Code.


■ :.r-1•'""·-   Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                      □ No
       property that poses or is
       alleged to pose a threat                  D Yes.     What is the hazard?
       of imminent and
       identifiable hazard to
       public health or safety?
       Or do you own any
       property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                            Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                      Number        Street




                                                                                     City                                          State    ZIP Code


      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1                                                                                                 Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
              Fll"St:Name    Middle Name             Last Name




.,..,,.,.'l-9 Explain Your Efforts to Receive a Briefing About Credit Counseling


1s. Tell the court whether
                                           About Debtor 1:                                                    Abo_··ut
                                                                                                                   . Debtor
                                                                                                                       .       2(Spouse Only. in a Joint Case):
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.                            D I received a briefing from an approved credit                    0    I received a briefing from an approved credit
                                               counseling agency within the 180 days before         I              counseling agency within the 180 days before I
    The law requires that you                  filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
    receive a briefing about credit            certificate of completion.                                          certificate of completion.
    counseling before you file for
                                               Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
    bankruptcy. You must
                                               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you              ~ i v e d a briefing from an approved credit                       0    I received a briefing from an approved credit
    cannot do so, you are not ·              counseling agency within the 180 days before I                        counseling agency within the 180 days before I
    eligible to file.                        filed this bankruptcy petition, but I do not have a                   filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                            certificate of completion.
    If you file anyway, the court              Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                 you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
    will lose whatever filing fee                                                                                  plan, if any.
                                               plan, if ariy.
    you paid, and your creditors
    can begin collection activities        D I certify that I asked for credit counseling                     D    I certify that I asked for credit counseling
    again.                                     services from an approved agency, but was                           services from an approved agency, but was
                                               unable to obtain those services during the 7                        unable to obtain those services during the 7
                                               days after I made my request, and exigent                           days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                               of the requirement                                                  of the requirement

                                               To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                               required you to file this case.                                     required you to file this case.

                                               Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                       You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                               may be dismissed.                                                   may be dismissed.
                                               Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                               days.                                                               days.

                                           D   I am not required to receive a briefing about                   0   I am not required to receive a briefing about
                                               credit counseling because of:                                       credit counseling because of:

                                               0   Incapacity.    I have a mental illness or a mental               D   Incapacity.   I have a mental illness or a mental
                                                                  deficiency that makes me                                            deficiency that makes me
                                                                  incapable of realizing or making                                    incapable of realizing or making
                                                                  rational decisions about finances.                                  rational decisions about finances.
                                               D   Disability.    My physical disability causes me                  D   Disability.   My physical disability causes me
                                                                  to be unable lo participate in a                                    to be unable to participate in a
                                                                  briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                  through the internet, even after I                                  through the internet, even after I
                                                                  reasonably tried to do so.                                          reasonably tried to do so.
                                               0   Active duty. I am currently on active military                   D   Active duty. I am currently on active military
                                                                duty in a military combat zone.                                      duty in a military combat zone.

                                               If you believe you are not required to receive a                     If you believe you are not required lo receive a
                                               briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1                                                                                               Case number(ifknown)._ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name               Last.Name




           Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             ~ G o lo line 16b.
                                             D Yes. Go lo line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                            ~ o to line 16c.
                                             D     Yes. Go to line 17.




11. Are you filing under
    Chapter7?                           ~ am not filing under Chapter 7. Go to line 18.
    Do you estimate that after          D Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is exduded and
    any exempt property is                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   □ No
    administrative expenses
    are paid that funds will be                    D   Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do               ~                                            □ 1,000-5,000                          0 25,001-50,000
    you estimate that you               0   50-99                                    □ 5,001-10,000                         0 50,001-100,000
    owe?                                0   100-199                                  □ 10,001-25,000                        D More than 100,000
                                        □ 200-999

19. How much do you                     □ $0-$50,000                                 D $1,000,001-$10 million               D $500,000,001-$1 billion
    estimate your assets to             ~$100,000                                    D $10,000,001-$50 million              D $1,000,000,001-$10 billion
    be worth?                           □ $100,001-$500,000                          D $50,000,001-$100 million             D $10,000,000,001-$50 billion
                                        D $500,001-$1 million                        D $100,000,001-$500 million            D More than $50 billion
20. How much do you                     □ $0-$50,000                                 D   $1,000,001-$10 million             D $500,000,001-$1    billion
    estimate your liabilities           □ $5_QJJ.01-$100,000                         D   $10,000,001-$50 million            D $1,000,000,001-$10 billion
    to be?                              ~00,001-$500,000                             0   $50,000,001-$100 million           D $10,000,000,001-$50 billion
                                        0 $500,001-$1 million                        0   $100,000,001-$500 million          D More than $50 billion
           Sign Below

                                        I have examined this petition, and I dedare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case n result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§      1    , 1519, and 3571.



                                            Sign

                                            Executed on
                                                                Debtor 1

                                                                  6 --t --c)o
                                                                 MM   / DD   /YYYY
                                                                                          r,                  Signature of Debtor 2

                                                                                                              Executed on _ _ _ _ __
                                                                                                                           MM/ DD     /YYYY


  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                     page 6
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Debtor 1                                                                                       Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
                  FnstName    Middle Name        Last Name




For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                     To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                     technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                            0   No
                                            ~·



                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                            0   No
                                            ~
                                            Did ~-pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            B'No
                                            0   Yes. Name of Person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                     Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorney m             e to lose my rights or property if I do not properly handle the case.




                                            D:::nature of D e b _     b _2D(                             Signature of Debtor 2



                                                             MM/ DD   /YYYY
                                                                                      9                  Date
                                                                                                                          MM/    DD /YYYY

                                            Contact phone    ----~Y~o_-_J
                                                                       _____           __0___
                                                                                   C(-_..l.              Contact phone


                                            Cell phone             {/        q O 7O                      Cell phone


                                            Email address    b~Y' uYt-5v/-f 1                          ~dress

EP I                         AF&¥                ±++?+&          ;;;;.;;;;;;;;;.-444441:12::1?: •        @..QZA       &i&i&HM ,--:-,


       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                  page 8
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Notice Required by 11 U.S.C. § 342{b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                               Chapter 7:        Liquidation
 This notice is for you if:

      !:1   You are an individual filing for bankruptcy,
                                                                          $245      filing fee
            and                                                            $75      administrative fee
                                                               +           $15      trustee surcharge
      fil   Your debts are primarily consumer debts.
                                                                          $335      total fee
            Consumer debts are defined in 11 U.S.C.
            § 101 (8) as "incurred by an individual             Chapter 7 is for individuals who have financial
            primarily for a personal, family, or               .difficulty preventing them from paying their
            household. purpose."                                debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                               bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
11          Chapter 7 -    Liquidation
                                                                However, if the court finds that you have
!ii         Chapter 11- Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
is          Chapter 12- Voluntary repayment plan
                                                                may deny your discharge.
                        for family farmers or
                        fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
fl          Chapter 13- Voluntaryrepaymentplan
                                                                debts are not discharged under the law.
                        for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                        income
                                                                111   most taxes;
You should have an attorney review your                         Ii!   most student loans;
decision to file for bankruptcy and the choice of
                                                                El    domestic support and property settlement
chapter.
                                                                      obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)           page 1
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•    most fines, penalties, forfeitures, and                   your income is more than the median income
     criminal restitution obligations; and                     for your state of residence and family size,
■    certain debts that are not listed in your                 depending on the results of the Means Test, the
     bankruptcy papers.                                        U.S. trustee, bankruptcy administrator, or
                                                               creditors can file a motion to dismiss your case
You may also be required to pay debts arising                  under § 707(b) of the Bankruptcy Code. If a
from:                                                          motion is filed, the court will decide if your
                                                               case should be dismissed. To avoid dismissal,
■    fraud or theft;
                                                               you may choose to proceed under another
11   fraud or defalcation while acting in breach               chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                               If you are an individual filing for chapter 7
•    intentional injuries that you inflicted; and
                                                               bankruptcy, the trustee may sell your property
■    death or personal injury caused by                        to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                     exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                proceeds from the sale of the property. The
     drugs.                                                    property, and the proceeds from property that
                                                               your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds              Exemptions may enable you to keep your
that you have enough income to repay                           home, a car, clothing, and household items or
creditors a certain amount. You must file                      to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                    is sold.
Income (Official Form 122A-1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you mustJist it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A-2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $550    administrative fee
state, you must file a second form -the                                  $1,717    totalfee
Chapter 7 Means Test Calculation (Official
Form 122A-2). The calculations on the form-                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test---deduct                        business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                          Under chapter 13, you must file with the court
            farmers or fishermen                               a plan to repay your creditors all or part of the
                                                               money that you owe them, usually using your
           $200 filing fee
                                                               future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                               plan, the court will allow you to repay your
                                                               debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                      5 years, depending on your income and other
family farmers and fishermen to repay their                    factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your ·
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:

Chapter 13: Repayment plan for                                  •     domestic support obligations,
                 individuals with regular                       ■     most student loans,
                 income                                         11    certain taxes,
                                                                •     debts for fraud or theft,
          $235    filing fee
                                                                111   debts for fraud or defalcation while acting
+          $75     administrative fee
                                                                      in a fiduciary capacity,
          $310     total fee
                                                                II!   most criminal fines and restitution
Chapter 13 is for individuals who have regular                        obligations,
income and would like to pay all or part of                     n     certain debts that are not listed in your
their debts in installments over a period of time                     bankruptcy papers,
and to discharge some debts that are not paid.
                                                                •     certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                      personal injury, and
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.                                   111   certain long-term secured debts.



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                                                                          A married couple may file a bankruptcy case
· · Wami~g: Fil~ ~ou·r: i~rnis ~ii Time'                                  together-called a joint case. If you file a joint
                                                                          case and each spouse lists the same mailing
. Section    521 (a)( 1) ~f the Bankruptcy Qxie      . · ..... · . ·.
                                                                          address on the bankruptcy petition, the
    , requir~s ~t you promptly    ~le
                                   detailed information , '
                                                                          bankruptcy court generally will mail you and
   · abouty~ur             ~ss.ets'.
                   2t-editors,   liabilities,   in~me,.: •. .
    · ~xpens~ and general financial condition:     The · ·_·              your spouse one copy of each notice, unless
                                                   you
, ., court may dismiss your bankruptcy ~s~ if do·, ,                      you file a statement with the court asking that
                              within
·.. not file .this. inf~::mation  th~ c:!eadlin~ set   by ,·. :           each spouse receive separate copies.
   , the Ba.nkruptcy Code, the   Bankruptcy   Rules, and
    the local .:U1es of the court. :    ,   -        . -·

   For mciie information ah<lut the doru~enhi and ...                     Understand which services you
 · their deadlines; go to: .· ..                                          could receive from credit
.· http:f~.usco~rts.govibkforms/bankruptcy form •·.                       counseling agencies
   s.tibnl#orocedure..
                                                                          The law generally requires that you receive a
                                                                          credit counseling briefing from an approved
                                                                          credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                          If you are filing a joint case, both spouses must
consequences
                                                                          receive the briefing. With limited exceptions.,
■     If you knowingly and fraudulently conceal                           you must receive it within the 180 days before
      assets or make a false oath or statement                            you file your bankruptcy petition. This briefing
      under penalty of perjury-either orally or                           is usually conducted by telephone or on the
      in writing-in connection with a                                     Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                                In addition, after filing a bankruptcy case, you
                                                                          generally must complete a financial
■       All information you supply in connection
                                                                          management instructional course before you
       with a bankruptcy case is subject to
                                                                          can receive a discharge. If you are filing a joint
       examination by the Attorney General acting
                                                                          case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                             You can obtain the list of agencies approved to
       offices and employees of the U.S.                                  provide both the briefing and the instructional
       Department of Justice.                                             course from:
                                                                           http:/{Justice.qov/ust/eo/hapcpa/ccde/cc approved.html.
Make sure the court has your                                               In Alabama and North Carolina, go to:
mailing address                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                                  BankruptcyResources/Approved Credit
                                                                           AndDebtCounselors.aspx.
mailing address you list on Voluntary Petition
for Individuals Filingfor Bankruptcy (Official
                                                                           If you do not have access to a computer, the
Form 101 ). To ensure that you receive
                                                                           clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                           help you obtain the list.
Rule 4002 requires that you notify the court of
 any changes in your address.



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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

INRE:                                        )
                                             )

~~            Debtor.
                                             )
                                             )
                                             )
                                                    Case No.
                                                    Chapter _ _



                               VERIFICATION OF MATRIX


                The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.                        '


Date:__.__6_-_6_-~ - - (          ~r
                                                    Joint Debtor Name (if applicable)
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